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   Predrag Cicvara
   2l22North Benson Road                                        fl
   Fairfield, CT A6824
   Ph.203-25s-7s44
   e-mail: predrag.cicvara@.gmail.com


                                                               Fairfield, June 15, 2015

   Off,rce of the Clerk
   United States District Court for the District of CT
   Bridgeport Divisional OfFrce
   9 1 5 Lafay ette Boulevard
   Bridgeport, CT 06604


   SUBJECTS:

    l.   Requests to seal the court documents related to the case: 3:09-cv-2054 (JCH)     -
         CT Federal Court, Predrag Cicvara v. The Gillette Company atal., and to seal the
         court docurnents related to the case: 12-338-cv / Second Circuit of Appeals NYC/
   -     Predrag Cicvara vs. Gillette et al. (this one was rewritten once already)

   2.    Request to Issue a Court Order to Google, Yahoo and Bing (Microsoft Search
         Engine that is also used by Yahoo.com) Public Search Engines'for the removal
         of links that lead to the documents related to these two court cases (after my
         name: Predrag Cicvara is used as a search query).




Dear Judge,

Please issue court ordçrs to seal the court documents listed above, and an order that will
force Google, Yahoo and Bing to remove the links that lead to thç case documents after
my name: Predrag Cicvara is typed into the search query as stated under subjects 1. and
2. above.


Justification for the requests:

I was the plaintiffin the                           I have lost the case back in
                            case 3:09-cv-2054 (JCH) and
November 20ll.I have opted for the appeal that I have lost again, by the judgment of the
Secortd Court of Appeals inNYC, in early 2013.

The facts that I got fited from Duracell in June 2009, that I lost the rights to exercise over
I1,000 incentive options in P&G, earned from 2001 trough 2005,that I lost my position
and salary instantly, that I was humiliated as a person by having been escorted out of the
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building on June 15,2009, that my family and I went through tenible emotional pain
after these things happened, which continued after I lost both, the base lawsuit and the
appeal after, are all hard enough for me, for my wife and for my son and these events left
emotional scars on all three of us.

However, what is happening on Internet now, with the court documents that are publioly
shown as search results, from the time after the judgments were issued, continuously, and
into the fourth year by now, is much, much worse.

If someone writes my    n¿lme: "Predrag Cicvara" in Google / Yahoo / Bing search engines
-  links appear that lead to the judgments of either 3:09-cv-2054 (JCH) case or of the
appeal: 12-338-cv case. There exist onl)¡ one Predrqg Cicvara in the USA: m])seW and
so the content of thcse doçuments affects me negatively directly, not to mention the harm
and emotional pain it brings continuously and repeatedly to my wifc and my son as well.
It feels as we are repeatedly punished, and as we all have to live through the same
nightmares we went through already, over and over again, any time one of these links
pops out in the search results, and that is happening continuously, at least once a month,
and sometimes much more frequently.

Many times I have managed to get the webmasters of the sites that were publishing these
documents to block these links (by using the robots.txt blockers). Googlg afid Microsoft
would never ensble the removals themselves citing that they are not responsible for the
appearance of these links in the search results as they are merely "providing the means
for the already published public documents to be found", aîdthey would always
recommend that contacting the webmasters of the sites directly, and asking them to block
the links is what needs to be done. That worked, as I stated before, in possibly 95% of the
cases, or even more of them. The other option (as stated by Google / Microsoft) was for
me to obtain the court order that will tell them to remove the links - in which case they
will follow the order and remove thç links themselves immediately (which is what I am
trying to do right now).


Unforhrnately, I am now in a position where there are three links that I cannot influence
anymore, by any means available to me, as the responses that I am getting from the
people in charge of these sites are that they are either not willing to remove the links
because of the "first amendment - freedom of speech" or because they are willing to
remove only after the court order is received by them to do so (like in cases of leagle.com
and ctlawtribune.com) or if the document is sealed - like in the case of:
https://ecf.ctd.uscourts.gov. Here is how the first few hits looks like today - after my
name is typed into the Google search engine:
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       Iam working now again. I have found a new job in December 2010, 18 months after I
       was fired, as at that time I was 55 years old, it was the start of the hard recession, and it
       was very difficult for me to find the job. I do feel that (to an extent, as it is never stated
       openly) now, since the case details are present on Internet almost çonstantly, in spite of
       my every day struggle to get links removed, I am not regarded as positive anymore at my
       work, as before the Internet links started to pop out. Also, because of the extremely
       damaging personal details, especially in the judgment for 3:09-cv-2054 case (that
       reappeated as a pdf. document a few days ago, at the beginning of June 2015, and that
       triggered these requests now) I feel that my whole future may be negatively influenced (I
       probably can never find a new job now), as could be the future of my wife and my son
       too (on top of the emotional pains for all of us, especially for my wife who is a teacher in
       the high school, that are present any time a new link appears).

       Please help us to get our normal lives back, lives without daily checking of Google and
       Yahoo search results, lives free of constant fear of same harms and pains that our entire
       family already went through not just once, unfortunately. It appears that the only way for
       us to get there, would be if the court seal the cases, and also issue orders to Google,
       Yahoo and Microsoft public search engines to remove the links related to these two
       cases, as requested above.

       Thank you very much for your help and understanding. Please do not hesitate to contact
       me if any other documentation, e-mail or anything else that you may need from me is
       required for the right decision to be made. If you think that the court order for Google,
       Yahoo and Bing þublic) search engines (as described under 2.) would suffice, then the
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sealing of the cases may not be necessary, perhaps. Whatever you decide, please try to
protect us from the further damages. We were punished harshly already, by the court
decisions and all we have been through, it is not necessary that we be punished time and
time again; it is becoming unbearablç to us.




Sincerely,
